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NVB 1017−1 (Rev. 8/15)


                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA


 IN RE:                                                         BK−23−11160−abl
                                                                CHAPTER 11
 BANDAR ENTERPRISES, LLC
    dba ASSURITY LABS
    dba ASSURITY HEALTHCARE
    dba CUUR DIAGNOSTICS                                        NOTICE OF DISMISSAL;
    fdba BANDAR SERIES 1 ASSURITY LABS                          NOTICE THAT ALL PENDING HEARINGS
                                                                ARE VACATED

                                    Debtor(s)




On 7/11/23, the Bankruptcy Court for the District of Nevada entered an order dismissing this bankruptcy case. As a
result, all pending hearings in the case, except any pending hearings regarding Appeals and Motions to Reconsider,
are hereby vacated and will be taken off calendar without further notice. This notice does not affect the status of any
adversary proceedings or any motions or matters that are pending in such adversary proceedings.



Dated: 7/11/23


                                                            Mary A. Schott
                                                            Clerk of Court
